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EXHIBIT I

 

 

Page 1

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

-Southern Division-

we ee ee ee ee ee eee ee eee ee ee ee ee ee ee ee ee ee ee x
CONSTANCE COLLINS, et al,
PLAINTIFFS,
-against- case No.:
1:20-cev-01225
TRI-STATE ZOOLOGICAL PARK OF
WESTERN MARYLAND, INC., at al
DEFENDANTS.
we ee ee ee ee ee eee ee eee ee ee ee ee ee ee ee ee ee ee x

DATE: June 30, 2021
TIME: 9:04 A.M.

EXAMINATION BEFORE TRIAL of the
Non-Party Witness, DR. GALE DUNCAN, taken
by the respective parties, pursuant to a
Subpoena, held via Veritext Virtual
Servies, before Edith Tirado-Plaza, a

Notary Public of the State of New York.

 

 

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Page 2

A P PEARANCE SBS:

PETA FOUNDATION
COUNSEL FOR PLAINTIFF
PEOPLE FOR THE ETHICAL TREATMENT OF
ANIMALS, INC.
Attorneys for the Plaintiffs
2154 West Sunset Boulevard
Los Angeles, California 90026
BY: ZEYNEP GRAVES, ESQ.
zeynepg@peta.org

NEVIN YOUNG, ESQ.
Attorney for the Defendants
170 West Street
Annapolis, Maryland 21401

ALSO PRESENT:
BRIAN MACKEY - VIDEOGRAPHER
CAITLYN HAWKS
JAMES ERSELIUS

 

 

 

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Page 3

FEDERAL S85 T I PU LATION 5

IT IS HEREBY STIPULATED AND AGREED by and
between the counsel for the respective
parties herein that the sealing, filing and
certification of the within deposition be
waived; that the original of the deposition
may be signed and sworn to by the witness
before anyone authorized to administer an
oath, with the same effect as if signed
before a Judge of the Court; that an
unsigned copy of the deposition may be used
with the same force and effect as if signed
by the witness, 30 days after service of
the original & 1 copy of same upon counsel
for the witness.

IT IS FURTHER STIPULATED AND AGREED that
all objections except as to form, are

reserved to the time of trial.
* * * *

 

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Page 4

DR. G. DUNCAN

VIDEOGRAPHER: We're going on
the record at 9:04 a.m. on June 30,
2021. This is media unit one in the
deposition of Gail Duncan DVM in the
matter of Constance Collins et al
versus Tri-State Zoological Park of
Western Maryland Incorporated, et al
in the United States District Court
for the District of Maryland Southern
Division. Case number 1:20 CV 01225.

My name is Brian Mackey from
Veritext and I'm the videographer.
The court reporter today is Edith
Tirado-Plaza from Veritext.

Would counsel please state your
appearances and affiliations for the
record.

MS. GRAVES: My name is Zeynep
Graves and I am counsel for plaintiff
Constance Collins and People for the
Ethical Treatment of Animals and I'm
joined by by colleagues today Caitlyn
Hawks James Erselius who are both

counsel for plaintiffs.

 

 

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Page 5

DR. G. DUNCAN
Mr. Young, can you introduce
yourself for the record?
MR. YOUNG: Nevin Young for all
the defendants here.
THE VIDEOGRAPHER: Would the
reporter please wear in the witness?
DR. GALE DUNCAN, called as a
witness, having been first duly sworn by a
Notary Public of the State of New York, was
examined and testified as follows:
EXAMINATION BY
MS. GRAVES:

Q. Dr. Duncan can you state and
spell your full name for the record,
please?

A. Gale Duncan, D-U-N-C-A-N.

Q. As a refresher I'll provide you
a brief overview of the deposition process.
I know you've been deposed before so I'll
ask the questions, the court reporter will
be transcribing what I say and your
answers. So, your answers are given under
oath subject to penalty of perjury the same

as if you were testifying in a courtroom.

 

 

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Page 6
DR. G. DUNCAN
Do you understand?
A. Yes.
Q. Your responses to my questions

must be verbal, nodding your head, shaking
is not sufficient because the court
reporter can't down gestures.

A. Right.

Q. If at any time you don't
understand one of my questions in full or
in part, just tell me and I will explain or
rephrase the question.

If you answer my question
without asking for clarification I will
take that to mean that you understood it.

A. Okay.

Q. Maybe at times before I finish
a question you feel like you know what I'm
going to say but for the benefit of the
court reporter so we're not talking over
each other and we get a clear transcript

let me finish my entire question before you

answer.
A. Okay.
QO. Likewise, if at any time I

 

 

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Page 7

DR. G. DUNCAN
start to ask you a question before you're
not finished, please tell me and I'll allow
you to finish; okay?

A. Okay.

QO. And I'll endeavor to take
regular breaks but if you need to take a
break during the deposition before I've
requested one just let me know and we'll do
that at the earliest opportunity.

A. Okay.

Q. I'll only ask if there's a
question pending that you answer my
question before we take a break.

Is there any reason mental or
physical why you would not be able to give
accurate and truthful answers to my
questions today?

A. No.

MR. YOUNG: For the record

also I may check for the record since
I'm not representing you I'm not
going to give any sort of
instructions on whether to answer a

question or not.

 

 

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Page 8
DR. G. DUNCAN
THE WITNESS: Okay.
QO. Dr. Duncan, is anyone in the

room with you today?

A. No, just a dog.

(Whereupon, a subpoena was
marked as Exhibit 41 for
identification as of this date by the
Reporter.)

QO. I've marked Exhibit 41 which
should appear in marked exhibits folder on
the Veritext Exhibit Share. This is a copy
of the subpoena to testify at a deposition
in a civil action which was served upon you
in this matter.

Can you just take a minute to

review that document?

A. Mine says all these folders are
empty.

QO. So, there should be a folder
under the deposition of Gail Duncan. It's
a sub folder under that. Sometimes it
takes a second to populate. Sometimes you
have to refresh the browser.

A. There it is.

 

 

 

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Page
DR. G. DUNCAN

Q. Are you here today pursuant to
this subpoena?

A. Yes.

Q. What did you do to prepare for
this deposition?

A. A little bit of review of my

medical records and really nothing else.

Q. Did you speak with anyone?

A. No -- well, I had a very brief
conversation with Nevin Young and with
Marcos Hasbun I want to say is his last
name just about the setting it up and the
procedures and everything.

Q. You said you reviewed your
documents. Were those your medical
records?

A. Yes.

Q. And did you provide all those
records to PETA?

A. Yes.

Q. Did you bring any materials
with you to the deposition today?

A. No, but I do have access to my

computer which can remote into the office

 

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Page 10
DR. G. DUNCAN
system if needed.

QO. You became Tri-State's
attending veterinarian in April 2018;
correct?

A. Yes.

Q. When did you stop serving as
Tri-State's attending veterinarian?

A. I think it was March or April
last year, 2020.

Q. When did you last visit as the

Tri-State's attending vet?
A. I would have to check my
records but probably fall of 2019 I think.

I'm not 100 percent sure.

QO. Is that documented somewhere?
A. Yes, it would be whatever my
last medical record prior to -- I think I

put in a default comment once I stopped
being the veterinarian but there should be
in all my records are dated so it would
have been the last date of the medical
record.

QO. To the extent we don't have

that default comment in the record, it

 

 

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Page 11
DR. G. DUNCAN
would be recorded somewhere?

A. I'm pretty sure there's one in
there. I'm not 100 percent sure but I
would have to check.

Q. Why did you part ways with
Tri-State?

A. Because of the extent of the

time commitment required outside of actual
physical time at the zoo due to chronic
noncompliance.

Q. That was chronic noncompliance
with what?

A. With medical recommendations,
veterinarian medical recommendations.

Q. Do you know who Tri-State's
current attending veterinarian is?

A. I do not.

QO. Has Tri-State's current
attending veterinarian asked your office
for Tri-State's records?

A. Not to my knowledge.

Q. So, you haven't had any
communication with Dr. Gold or his office?

A. No, not to my knowledge.

 

 

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Page 12

DR. G. DUNCAN
QO. Is there a written record of
all the animals that you examined at
Tri-State or otherwise provided care to?
A. There should be individual
records for all of the animals that I had
contact with, yes.

MR. YOUNG: I'm sorry to
interrupt but I don't see anything in
terms of the Exhibit Share for me to
log into on this case. Was there an
e-mail sent or should I use the same
one that we used for the last
deposition or how does that work?

MS. GRAVES: Off the record
for a second.

THE VIDEOGRAPHER: We're going
off the record. The time is 9:14
a.m.

(Whereupon, an off-the-record

discussion was held.)

THE VIDEOGRAPHER: We're back
on the record. The time is 9:16 a.m.
QO. Dr. Duncan, to the extent that

there's not a written record for a specific

 

 

 

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Page 13

DR. G. DUNCAN
animal is it fair to say that you didn't
examine that animal?

A. Yes.

Q. And earlier you had noted the
reason why you parted ways with Tri-State.
Can you give examples of the noncompliance
that you're referring to?

A. So, I guess the biggest
examples would be when I was there working
on the tigers when they were ill. Several
recommendations were made and the majority
of those will be marked in the medical
records for them that were declined or
refused by Mr. Candy.

Q. That included euthanizing the
animals?

A. Euthanizing, referrals, certain
medications, medical procedures that were
recommended that were declined.

Q. Did you ever communicate with

Mr. Candy via text message?

A. Probably once or twice, yes.
QO. How about e-mail?
A. I don't think so.

 

 

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Page 14

DR. G. DUNCAN

Q. Did you search for any text
messages or e-mails related to Tri-State
when you responded to PETA's subpoena for
documents?

A. I don't have any text messages
so all of those would have been deleted. I
did not look for e-mails because I was
fairly certain I have never e-mailed with
him.

Q. I'll ask after the deposition
closes today if you just search for e-mails
to see if there are any records related to
Tri-state and if there are that you provide
them to PETA pursuant to its subpoena.

A. Okay.

Q. Did Tri-State ever update you
regarding the outcome of PETA's Endangered
Species Act litigation?

A. I had followed a little bit on
their Facebook account and Mr. Young did
mention very briefly when we spoke when he
told me that this deposition was going to
happen.

Q. What did he tell you?

 

 

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Page 15

DR. G. DUNCAN

A. That Pica had been tried to be
introduced to a couple of other lionesses
and it didn't go well and that was about
all he said.

QO. So, nothing about the outcome
of the Endangered Species Act litigation or
the court's holding?

A. Something about it going to the
Supreme court or something, that's all.

QO. I've marked Exhibit 42. Let me
know when it appears in your marked
exhibits folder.

(Whereupon, a document entitled
Program of Veterinary Care was marked
as Exhibit 42 for identification as

of this date by the Reporter.)

A. Okay, yes.

Q. Do you recognize this document?

A. It's little uploading. Yes.

Q. How are you able to recognize
it?

A. Because I filled it out.

And what is it?

It is the -- what is it called?

 

 

 

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Page 16
DR. G. DUNCAN

It's basically me agreeing to be the
attending veterinarian for the zoo.

Q. Is it the program of veterinary
care?

A. That, yes.

Q. At page one of Exhibit 42, the

bottom, your program of veterinarian care
includes regularly scheduled visits to the
zoo every three months or more frequently
as needed; correct?

A. Yes.

Q. Why did you recommend quarterly
visits to the zoo?

A. So, I will admit it was fairly
arbitrary but based on the number of
animals that I saw there that seemed like a
reasonable frequency for me.

QO. We'll come back to this
document.

MS. GRAVES: I'm going to mark
Exhibit 43.

(Whereupon, a patient history
report was marked as Exhibit 43 for

identification as of this date by the

 

 

 

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Page 17

DR. G. DUNCAN

Reporter.)

A. Okay.

Q. Do you recognize this document?

A. Yes.

Q. How are you able to recognize
it?

A. It is one of our medical

reports from Mountainview Veterinarian that
it looks like I have filled out for one of
the patients there.

Q. On page two of Exhibit 43 on
5-21-19 there's a default comments that
states in part "also discussed visits.
Advised Mr. Candy that per his previous
veterinary plan visits were recommended
quarterly and he has not had us out for six
months at this point."

Did Mr. Candy ever follow your
recommendation of quarterly visits to the
Zoo?

A. I think when we -- I would have
to look through the files. I think there
may have been when we initially started

that we were out quarterly but it may have

 

 

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Page 18

DR. G. DUNCAN
been more like five or six months. I'm not
100 percent sure but all the dates would be
marked in the medical records.

Q. Do you recall how many times
Mr. Candy scheduled the recommended
quarterly visits with your office?

A. I do not recall.

Q. The dates of your visit would
all be in the records that we were
provided?

A. Correct.

Q. Still on page 42, bates stamped
MVS00110 the first paragraph states
"discussed foot baths with Mr. Candy. Has
not installed started procedure yet."

Do you recall what you
discussed with Mr. Candy regarding foot
baths?

A. I believe that we had discussed
having foot baths going into basically
every entrance to each of the enclosures
and I know we had type discussed of
chemicals that could be put in those foot

baths but I could not recall the exact

 

 

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Page 19
DR. G. DUNCAN
chemicals that were discussed.
Q. Did you think that installing

foot baths could have been a cost effective
way to prevent the introduction or spread
of disease?

A. That was my intent, yes.

Q. During your tenure as
Tri-State's attending vet, did Mr. Candy
ever install foot baths?

A. Not to my knowledge.

QO. So, he didn't follow your
recommendation?

A. Not that I know of.

Q. We'll go back to Exhibit 42.

You should be able to toggle at the bottom

of your screen. Let me know when you have
that up.

A. Okay.

Q. On page four of Exhibit 42

section four details your recommendations
for vaccinations for the pigs, sheep,
goats, llamas and miniature horses;
correct?

A. Yes.

 

 

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Page 20

DR. G. DUNCAN

Q. And your parasite program for
the same animals which includes getting
fecals every six months?

A. Yes.

Q. Did Mr. Candy follow your
recommendations regarding vaccinations for
any of the farm animals and equines?

A. Yes, so as far as I know we did
vaccinate them. I do not 100 percent
remember if it was in the frequency.

Q. Did he bring you fecal samples
every six months?

A. Not every six months. Not to
my knowledge.

QO. And when fecals were submitted
in improper containers or otherwise
contaminated, did Mr. Candy resubmit proper
samples?

A. To my knowledge there was never
an improper container.

Q. Why didn't this PVC include all
of Tri-State?

A. Because there were certain

species that I had not agreed to be the

 

 

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DR. G. DUNCAN
attending veterinarian for because I did
not feel that I was qualified to treat
those species?
Q. What species were those?
A. The monkey, the reptiles, they
had some emus, basically all of the birds.

Pretty much reptiles, birds, monkeys.

QO. How about the coatimundis?

A. Also those.

Q. And the kinkajous?

A. Yes, pretty much -- I guess I

should say the exotic species that were not

the tigers and the lion obviously.

QO. That would include the bobcats?

A. I did treat the bobcat.

Q. And how about the cougar?

A. I did treat the cougar, yes,
ma'am.

Q. But the cougar and the bobcat

are not included on the program of

veterinary care; correct?

A. Not specifically, correct.
Q. How about the wolf dog hybrid?
A. I don't think she was

 

 

 

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Yr oO PY OO PF DO

Q.

included
correct?
A.
QO.
the wolf
you were

A.

Q.

A.

 

Page 22

DR. G. DUNCAN

specifically included. We kind of included
her along with the African singing dog

under the dog and cats section.

How about the porcupines?

The porcupines I did not treat.
The opposums?

Nope.

And how about the skunk?

There was not a skunk there

when I was there.

So, the species that we just

discussed some of them you did treat or you
were responsible as their attending vet but

they were not included or specifically

in the program of veterinary care;
For example, we just mentioned --

Correct.

The bobcats and the cougar and
and the new guinea singing dog,
responsible for their care?

Yes.

They were not included in this

written PVC?

Not specifically but they were

 

 

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Page 23

DR. G. DUNCAN
included as a lump sum with some of the

other animals.

Q. So, they were just not named in
the PVC?

A. Correct, yes.

Q. Then the upper animals just so

the record is clear, all the reptiles so
that would include the tortoises, turtles,
alligator, anaconda, lizards and other
snakes, all of the exotic birds, the emus
and the primates and porcupines and
opposum, coatimundi, kikajou, those animals
you were not their attending veterinarian?

A. Correct, I did visual
examinations of them but made an
understanding with Mr. Candy that if any
treatment was needed or if he had any
questions for their care he would have to
seek that from a specialist.

Q. How about free roaming animals
so the geese, the turkeys,, the peacocks
and the chickens?

A. None of the free roaming bird

species were included. He said they didn't

 

 

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Page 24
DR. G. DUNCAN

need to be seen. They just kind of hung
out.

Q. How about the donkey?

A. Yes.

Q. Was the donkey included in the
program of veterinary care?

A. He was included with the other
horses.

Q. Why didn't the program of

veterinary care address preventative
medicine? For example, why didn't it
include a quarantine plan or periodic risk
based health assessments?

A. So, the initial plan I
effectively took over from the previous
veterinarian and then flushed it out in
writing as the years continued and it did
include preventative veterinary care as far
as some vaccine recommendations and
deworming slash fecal recommendations.

Q. Is this the flush out plan?

A. I'm scrolling through. No, so
there was a word document that is probably

between six and eight pages that actually

 

 

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Page 25

DR. G. DUNCAN
included more specific instructions and
plans.

Q. Do you know when that was
created?

A. Probably spring of 2019 would
be my guess. I started working on it very
soon after I started working for the zoo
and basically continued upgrading it as
things were needed to be added.

Q. Would that updated plan or that
word document be in Mr. Candy's possession,
do you know?

A. He should have a copy and of
course we have a copy that is included with
our medical records.

Q. Was that like on your
veterinary -- the patient record template
or would it have been kind of a standalone
document?

A. It should have been a
standalone document. It should have been
sent with one of the copies of the patient
care agreement.

QO. To the extent that we did not

 

 

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DR. G. DUNCAN
receive that, will you look back and
provide us with a copy?
A. Yes, is there a way that I can

upload it here or send it to you after the
deposition?

QO. You can send it to me after the
deposition or perhaps even a break that
would be great.

A. Okay.

Q. Just off the top of your head,
do you know what exactly that document --
what issues that document spoke to?

A. I don't specifically remember.
I know -- so I know we had flushed out some
recommendations as far as feeding and
Sanitation related to feeding, sanitation
in general. I don't specifically remember
what else was included in it.

Q. Okay.

And the purpose of creating
that document was that -- why did you
create that document?

A. So, when I had started and kind

of took over the care of veterinary plan,

 

 

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DR. G. DUNCAN
it was somewhat I guess I would say bare
bones and there was a lot of agreement that
was kind of verbal between Mr. Candy and
the previous veterinarian, at least that
was my understanding, and I felt the need
to have that in writing especially as he
continued to be noncompliant kind of as a
liability concern.

Q. Did you provide that document
to Mr. Candy?

A. Yes, and we have -- I believe
we have a copy that was signed by him that
included that.

Q. Does your program of veterinary
care include weighing the animals
regularly?

A. No, because he did not have a
method to do that.

Q. Does it include obtaining their
-- regularly assessing their body condition

Scores?

A. Yes.
QO. Where is that?
A. Under physical exam which

 

 

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DR. G. DUNCAN
should be -- it may not be specifically
stated on this one but was intended to be
performed every quarter with the quarterly
visits.

QO. That would have been on each
animal?

A. Correct.

Q. Were fecal exams repeated
following treatment to evaluate efficacy?

A. They were certainly
recommended. I don't remember if they were
performed.

Q. If they were performed, they
would be reflected in your records?

A. Yes.

Q. If preventatives for parasite
control such as Revolution or Bravecto were
used, would that be reflected in the
patient history report?

A. If should be if they were
purchased from us.

Q. If they weren't purchased from
you but you had recommended parasite

control or preventative for parasite

 

 

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DR. G. DUNCAN
control, would that be reflected in your
records?

A. Yes, and if I had any knowledge
of them being applied even if they hadn't
been purchased from us that would have been
notated somewhere in the medical record.

Q. Why didn't the program of
veterinary care include a zoonotic disease
prevention plan?

A. So, that is under the flushed
out proportion which is under -- there's a
a disease infection protocol for that and
may or may not specifically state out a
quarantine procedure because he had said he
was not going to have anymore animals
coming into to his knowledge. So, we were
going to address quarantine as needed if he
happened to add another animal.

Q. This plan that we have in front
of us doesn't address personal and
protective equipment like gloves, boots,
face masks, cover alls?

A. Correct.

Q. Washing hands, washing and

 

 

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DR. G. DUNCAN
Sanitizing tools and foot baths?
A. No.
QO. And the PVC, and by PVC I mean

the program of veterinary care, does it
address surgery?

A. No.

Q. And why doesn't the program of
veterinary care include nutritional
programs for the animals other than the big
cats?

A. So, those were verbally
discussed and were included with the
quarterly visits or scheduled quarterly
visits but not specifically written down,
especially in there maybe more in the more
flushed out portion but my understanding
when taking over this PVC was that it
included what was required.

Q. What was required based on --
what are you referring to when you say
that?

A. So, when I first came into
being the attending veterinarian I had

never been an attending veterinarian for a

 

 

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DR. G. DUNCAN

zoo before and my understanding from him

was this was what was required for the USDA

and that nothing further or more in-depth
was required which as I went along as I
said I discovered I needed to be more
specific and created a more in-depth plan.

Q. Do you know if Mr. Candy
followed your more in-depth plan?

A. There are some portions that I
don't believe he did. I would have to
again look at the more in-depth one to be
able to definitively say.

Q. The program of veterinary care
in front of us doesn't address sanitation
and disinfectant protocols, does it?

A. Correct. That was in the more

flushed out version.

Q. How about pest control?
A. I don't think so.
QO. Does it address enrichment for

any animals other than the primates?
A. Sorry, can you repeat that?
You broke up.

QO. Does it include or address

 

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DR. G. DUNCAN
enrichment for animals other than the

primates?

A. No.
Q. Why not?
A. Because this was discussed

verbally not in writing.

Q. Going back to Exhibit 43. The
first page the first line under 5-21-2020
it says default comment all records were
e-mailed to Gloria S$. McFadden at USDA dot
gov on 5-21-20.

What records did you e-mail to
Dr. McFadden?

A. I believe all of the records
that were in the system so all of the typed
records.

QO. Were those the records that
were also sent to PETA in this matter?

A. The ones sent to PETA would
have been more in-depth because they would
have also included pictures and some
written or written or typed records that
were not in Cornerstone which is the

program that we use for our medical

 

 

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DR. G. DUNCAN
records.
Q. That e-mail that you sent to
Dr. McFadden wasn't produced to PETA;
correct?
A. I don't know. That would have

been sent by one of the receptionists it
looks like.

Q. Have you ever e-mailed or
texted anyone else about Tri-State's
animals?

A. Yes, there was a zoo
veterinarian whose name I don't remember
who I had texted with questions about the
first tiger, Cayenne when I was treating
her.

Q. Any other text messages or
e-mails regarding Tri-State's animals?

A. Not that I recall.

QO. How about text or e-mails with
your staff or other agencies?

A. I don't think so. Other than
potentially scheduling things, you know,
call and schedule this thing, call and

schedule that things or get these

 

 

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medications ready.

QO. How about e-mails or texts or
calls with Tri-State's volunteers?

A. No.

Q. Have you ever received any
e-mails or texts about Tri-State?

A. Not other than from Mr. Candy

and maybe once or twice from Mr. Young
setting up meeting times.

Q. Have you ever discussed
treatment of the animals at Tri-State with
anyone other than Mr. Candy?

A. One or two of the other
veterinarians at Mountainview, yes, and the
practice manager who was present in the
room during a couple of my conversations
with Mr. Candy.

Q. Do you have any documentation
of any of those discussions?

A. So, those would have been in
default comments under the patient named
zoo, which was kind of where we put all of
our evaluations of a general big picture

that were not related to a specific animal

 

 

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DR. G. DUNCAN
and some of the default comments for
conversations. Some of those default

comments if they related to a specific
patient would have been in that patient
file but the practice manager was present
for two or three of those conversations. I
mean not participating in them but was in
the room when I was having the
conversation.

Q. Did you have any discussions
with anyone outside -- other than the vet
who you said you consulted with regarding
the tigers and the veterinarian at your
office or practice manager, did you have
any conversations about treatment of
animals with anyone else?

A. Not to my knowledge.

Q. The patient report under zoo
that you said you noted kind of the bigger
Picture comments, is that Exhibit 43?

A. Yes.

MS. GRAVES: I'm going to mark
Exhibit 44.

(Whereupon, a patient history

 

 

 

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DR. G. DUNCAN
Exhibit 45.

(Whereupon, a patient history
was marked as Exhibit 45 for
identification as of this date by the
Reporter.)

Q. Let me know when you can see

that document.

A. Okay.
Q. Do you recognize this document?
A. Yes, this is my medical report

for Charlie who was the cougar.
Q. And Exhibit 45 at page three

can you review your entry on November 6&,

2018. Just take a minute to look it over.
A. Okay.
Q. Do you recall the condition of

Charlie on this date?

A. Yes.

Q. Can you describe his condition?

A. I would say moderately
debilitated. I had a concern of a GI

foreign body or some kind of severe
intestinal disease.

Q. Why were you concerned about GI

 

 

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DR. G. DUNCAN
foreign body?

A. Due to the history of not
eating, not drinking, acting excessively
lethargic and he was quite painful in
palpation of his abdomen. When he walked
he was exhibiting signs of significant
abdominal discomfort.

Q. Under physical exam the record
notes that on presentation patient in
sternal recumbency and the next sentence
will not rise and that he appeared to be in
pain. Why do you think that Charlie
appeared to be in pain?

A. So, his behavior. So he was --
I had interacted with him previous times
from outside the enclosure obviously and
normally he would walk, he would rub along
the cage when Mr. Candy was there and would
chuff at him and at this point he was lying
down, unwilling to move, growling
insistently and he was actually having mild
as you call them abdominal contractions
which we refer to as splinting which is

usually indicative of significant abdominal

 

 

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DR. G. DUNCAN
pain.

QO. On November 8th was Charlie --
earlier you said you were observing him
walk around. Then the record says he would
not rise. Did you see Charlie ambulate at
all on that specific date?

A. After he woke up from the

sedation, yes, he was ambulatory.

Q. If we go to page four under
plan. It says discussed very poor
prognosis with owner. Declined euthanasia.

Do you recall the discussion
you had with Mr. Candy about euthanizing
the mountain lion?

A. Yes, so we had actually
discovered referral because previously he
had told me that in the event that one of
the cats would need some kind of more
severe medical intervention or surgery he
did have a contact that could help with
that and I believe we called that
veterinarian and for whatever reason we
weren't going to be able to get him there

or there was some complication there. So

 

 

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DR. G. DUNCAN

then I discussed with Mr. Candy that due to
his incredibly poor prognosis because he
was so painful if surgical interventional
was not option or further medical
intervention was not an option, that it may
very well be in Charlie's best interest to
stop his suffering.

Q. Do you recall the name of the

veterinarian you spoke with?

A. I don't.

Q. Was it Dr. Shepherd?

A. What's the first name?

Q. I'll get back to you.

A. I want to say there was a Bin
it like Brian or -- I maybe making that up.

Q. Do you know why Mr. Candy

didn't follow your recommendation to
euthanize Charlie?

A. Yes, so he felt that he wanted
to give Charlie a chance quote unquote with
what we could do at the zoo. So, we
ecereated a plan to basically give him some
Supportive care, run some blood work with

the understanding that if he did not

 

 

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DR. G. DUNCAN
improve or declined that we should be out
to euthanize him because it was unfair to
him to continue his suffering.

Q. What supportive care did you
provide to him?

A. So, we provided some subject 9
fluids, some pain control, we administered
anti nausea medication and then ran some
blood work and set up a plan to provide
further treatment the next day.

QO. And that's all documented in
Exhibit 45?

A. Yes, in the assessment and
plan.

Q. On the first page of Exhibit 45
it says Mr. Candy called to say Charlie
passed during night. Found him stretched
out likely DT agonal breaths at passing.

Can you explain this entry?

A. So, I was out of town at that
point and Mr. Candy had called and left a
message saying that Charlie had passed
during the night. He thought it was

peaceful based on him being stretched out.

 

 

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DR. G. DUNCAN
I thought that was likely due to DT is due
to the agonal breaths that they take when
they're passing and then he had obviously
continued to say that Charlie had never
eaten, had not really gotten up. He never
got the medications into him and we
recommended a necropsy to see what actually
had transpired and he declined.

Q. Based on your assessment of
Charlie's condition initially on November
7th, do you think Charlie was suffering?

A. Absolutely.

Q. And would euthanizing Charlie
have been the humane thing to do?

A. Yes.

Q. Exhibit 45 again on page one on
November 10, 2018, you just mentioned that
you had recommended having Charlie
necropsied and why did you recommend that
Charlie be necropsied?

A. So, one of the reasons was for
basically to know was there a GI
obstruction because that would lead us to

basically do need to change some of the

 

 

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DR. G. DUNCAN
management procedures. Also I did have a
concern that there was a potential for an
infectious disease which if Charlie had had
it I wanted to know if the other animals,
especially the large cats, would be at
risk.

Q. Mr. Candy declined to necropsy
Charlie; correct?

A. Yes.

Q. Did you make any other
recommendations that you could recall that
Mr. Candy did not follow?

A. For Charlie specifically?

Q. Sorry, any of the other
animals.

A. Yes.

QO. What were those
recommendations?

A. So, for each of the large cats
that ended up being euthanized which would
be Cayenne, Cheyanne and Kumar there were
recommendations for various procedures,
drugs, referrals and euthanasia that were

all declined.

 

 

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DR. G. DUNCAN
Q. You said Cheyanne, but did you
mean India?
A. Yes, sorry.
MS. GRAVES: I'm going to mark

another exhibit.

(Whereupon, a patient history
marked as Exhibit 46 for
identification as of this date by the
Reporter.)

QO. This is Exhibit 46. Let me

know when you can view it.

A. Okay.
Q. Do you recognize this document?
A. Yes, this is my medical record

for Bridgette who was one of Mr. Candy's

personal animals, a basset hound.

Q. And let's go to page four.

A. Okay.

QO. There's an entry on June l,
2018 under routine exam history. It says
mass on left front leg. Been there about
one year. Seen by a vet last year and was
told it was an abscess. Gotten bigger and

it does burst open at times but not a lot

 

 

 

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DR. G. DUNCAN
of discharge. No FNA was done when seen
last year. Was told it was an abscess.
What does FNA stand for?
A. Fine needle aspiration.
Q. By the time Mr. Candy brought

Bridgette to your office she had already
had the mass for at least a year; correct?

A. That was what he had told us,

Q. Despite the mass bursting open
at times is it your understanding that Mr.
Candy never brought her in to be examined
by a veterinarian?

A. Yes.

Q. Would a ruptured mass cause

Bridgette pain?

A. Most likely.

Q. Let's go to page five.

A. Okay.

QO. Under musculoskeletal, LH

medial and lateral toenails ingrown
severely. Unable to remove portion ingrown
into pads. To be removed under sedation

for mass removal.

 

 

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DR. G. DUNCAN
Do you recall Bridgette's

severely ingrown toenails?

A. Yes.

Q. Can you describe what you
observed?

A. So, she had severely overgrown

toenails and several of them were either
ingrown into her paw pads or had obviously
at some point been ingrown into her paw
pads to the point that it was too painful
to basically trim them and remove the
portion from the paw pads while she was
awake and when they were removed there were
very large wounds present where they had
been ingrown into those paw pads.

Q. It's entirely preventable --
ingrown toenails are entirely preventable
with regularly nail trims; correct?

A. Yes.

QO. So, you said some had been
ingrown when you examined her paw pads.

So, were there wounds that had healed over?

A. They were in the process of

healing, yes.

 

 

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DR. G. DUNCAN
QO. So, she had open wounds from
prior ingrowns in addition to some nails
that were currently imbedded in her paw
pads?
A. Correct.
And those ingrown toenails

would have been painful; correct?

A. Yes.
Q. Let's go up to page four of
Exhibit 46. Above physical exam it says

102.9. Was 102.9 her temperature?

A. Yes.

Q. Is that a high temperature for
a dog?

A. It depends on how excited or
nervous they are. So, it does not

necessarily indicate infection or disease
if they are relatively stressed by being in
the veterinarian clinic.

Q. And can you describe
Bridgette's symptoms at that time?

A. So, as I recall she was
reluctant to walk. I think she was not

eating as much as she normally did and then

 

 

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DR. G. DUNCAN
she was non weight bearing on the left
front leg.

Q. Do you know if Bridgette was
suffering from a uterine infection when she
was brought to your office?

A. I can't remember. It says
she's spade but I can't remember if we're
the ones that spayed her. I know she had
-- well, I don't know. I think I remember
that she had a very severe ear infection.

Q. What treatment was Bridgette
provided?

A. So, she was referred to one of
my associates who is one of our surgeons
for the mass removal. The toe nails were
trimmed while she was under and the
imbedded portions removed from her paw pads
and the paw pads were treated topically and
bandaged. Then she had an ear cleaning and
she was put on an antiinflammatory and some
antibiotics both for the severe wounds in
her paw pads and for her ear infection and
I'm fairly certain she had some superficial

dermatitis as well.

 

 

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DR. G. DUNCAN
MS. GRAVES: I'm going do mark
another exhibit, Exhibit 47.
(Whereupon, an anonymous
complaint was marked as Exhibit 47
for identification as of this date by
the Reporter.)

A. Okay.

Q. I'm going to represent to you
this is an anonymous complaint that PETA
received in August of 2020. If you scroll
down to page let's start with page four,
five, six and seven. Is this Bridgette?

Do you recognize her?

A. I believe so.

Q. Bridgette was also a basset
hound?

A. Yes.

Q. If we go back up to page two,
bates stamped PETA 003543 and -- actually,

page three, my apologies. It says at the

top of the page please help these animals.
The only reason this animal was helped is
because -- was helped is BC it was dying.

It had a life threatening uterine

 

 

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Page 50
DR. G. DUNCAN
infection. I cannot state info due to my
employment. You had seized animals from
his location before. Help them. This man
has no business having animals. His name

is Bob candy.
Does this refresh your
recollection at all regarding Bridgette's

condition?

A. Yes.

QO. Go ahead.

A. So, she was -- so I'm fairly
certain that I remember this on her. She

had some potential for mammary masses I
think and what we call hematuria which is
that uterine infection and of course she
was under weight and I think that was why
she had stopped eating in conjunction with
the pain from her feet, yes.

QO. On July 20, 2018, Bridgette
underwent surgery; correct?

A. Let me go back to her record.
Yes, July 20th, yep.

Q. What kind of surgery was

performed?

 

 

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Page 51
DR. G. DUNCAN
A. Mass removal.
Q. And how many masses did you
remove?
A. Dr. Nguyen was actually the
surgeon and she removed two. I believe

which she only charged for one but she did

remove two masses.

Q. Were the masses biopsied?
A. No, he declined biopsy.
Q. Did you run any other test to

determine what the masses were?

A. I don't believe so. I'm pretty
sure he declined that as well.

Q. So, your office never diagnosed
Bridgette as suffering from cancer?

A. We had a strong suspicion that
there was working until masses but
obviously we do not 100 percent confirm
that given the declining of biopsy and
pathology.

Q. Prior to surgery Bridgette was
anesthetized; correct?

A. Yes, it looks like she was

sedated so not inhalant anesthesia But

 

 

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Page 52
DR. G. DUNCAN

injectable sedation.

Q. And were you present during
Bridgette's surgery?

A. I was not.

Q. But you do not know what
monitoring equipment was used?

A. So, she would have been put on
a pulse ox. She would have had an IV
catheter and fluids it looks like. There

would have been temperature monitoring,
heart rate and respiratory rate by a
veterinary assistant.

Q. And that protocol is reflected
in her record in Exhibit 46?

A. Yes.

Q. Bridgette tore her stitches
after she was sent home; correct?

A. I believe so, yes.

Q. Do you recall her condition
when she was brought back to your office?

A. I don't think that I saw her.
I believe Dr. Nguyen saw her again, but I
am fairly certain that she had chewed

sutures out because she was not wearing her

 

 

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Page 53

DR. G. DUNCAN
E collar as recommended and I do know that
she did have to be resedated and more
sutures had to be placed.

QO. So, your office had recommended
that she wear the E collar?

A. Absolutely, yes.

Q. And Mr. Candy didn't follow
that recommendation?

A. Correct.

Q. Was Bridgette's condition life
threatening when she was brought to your
office?

A. Potentially.

MS. GRAVES: I'm going to mark
our next exhibit.

(Whereupon, a patient history
was marked as Exhibit 48 for
identification as of this date by the
Reporter.)

Q. I just marked Exhibit 48. Let
me know when that appears for you.

A. Okay.

Q. Do you recognize these

documents?

 

 

 

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Page 66
DR. G. DUNCAN
Q. And you wouldn't have that
record elsewhere; correct?
A. Correct, if they are not right

here then the specific type of worm seen
was not put in by the technician that ran
the fecal.
MS. GRAVES: I'm going to mark
Exhibit 50.
(Whereupon, a patient history
was marked as Exhibit 50 for
identification as of this date by the

Reporter.)

Q. Let me know when you're able to
see it.

A. Okay.

Q. Do you recognize these

documents?

A. Yes, these are patient records
-- the patient record for Sally including a
copy of previous veterinarian records from
it looks like a health certificate. And
then a patient record -- well, basically
previous record for Sam including a health

certificate and Suzie including a health

 

 

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Page 67

DR. G. DUNCAN
certificate so three Himalayan health
certificates from a previous veterinarian.

Q. How are you able to recognize
these documents?

A. Because they're labelled.

Q. These are documents that your
clinic created besides the health records
from the Commonwealth of Virginia?

A. Yes, so it is basically a
record of having received previous vet
records or health certificates or
realistically not records.

Q. During your tenure as
Tri-State's AV were the Himalayan black
bears ever physically examined?

A. Visual examinations only.

Did you ever get weights on

them?
A. No.
Q. Any blood work?
A. No.
Q. Any screening for

endoparasites?

A. Not to my knowledge, no.

 

 

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Page 68
DR. G. DUNCAN

QO. And were their diets ever
assessed?

A. Verbally, yes.

Q. What did you say to Mr. Candy
about their diets?

A. So, I think we had briefly

discussed what they were fed but he said
that the diets were controlled by someone
else who I guess technically owned the
bears that he was leasing them. I want to
say from somewhere -- I think he said
somewhere in New York, but I maybe mistaken
on this date but he had said that was
determined by them and, therefore, I didn't
need to really be that involved with their
diets.

Q. So, Mr. Candy represented to
you that someone else was in control of
assessing the bear's diets?

A. Basically that someone else was
responsible for making decisions as far as
their care overall. That he was kind of
leasing them slash caretaking them was my

understanding.

 

 

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DR. G. DUNCAN
Q. They weren't provided with any
dental care during your tenure; correct?
A. Correct, it was recommended
once or twice and was declined because,
again, he said that the technical owners of

the bears had declined it.

Q. Let's go back to Exhibit 43.
A. Okay.
Q. Page one under there's an entry

under September 22, 2019. Default
comments. Present at Tri-State Zoo for
visit by PETA personnel Mr. Nevin Young,
Mr. Candy. Abnormalities of note severe
dental disease in Asian bears, both likely
due to previous discussed chewing on bars.
Mr. Candy to discuss with owners of bears.

A. Yes.

Q. When did you discover that the
bears at Tri-State were suffering from
severe dental disease?

A. Oh, probably the first time
that I visually examined them. We had
discussed that they were chewing on bars

and it was damaging their teeth and there

 

 

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DR. G. DUNCAN

was some kind of dismissive comment made.
We had had discussed what was involved with
potentially having to transport slash
anesthetize slash treat them and he
declined any kind of dental intervention at
that point.

QO. So, that would have been before
the September 22, 2019 site inspection?

A. Yes.

Q. Where PETA was present that you

had observed the dental disease in the

bears?
A. Correct.
QO. So, that would have been

brought to his attention some time before
that date?

A. Correct.

QO. So, when Dr. Haddad pointed out
their dental disease Mr. Candy was already
aware of it at that point?

A. He certainly should have been
because we discussed it at least twice.

Q. You said you discussed chewing

on bars and you observed the bears chewing

 

 

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Page 71
DR. G. DUNCAN

on the bars of the fence of their
enclosure?

A. Correct.

Q. And did you observe that
multiple times?

A. Yes, at every instance that I

performed a visual examination on the
bears.

Q. Would you agree that their
dental disease was obvious and plainly
visible in September 2019?

A. Yes.

Q. And if Tri-State was visually
inspecting the bears or monitoring them in
any meaningful way they would have noticed
on their own the bear's condition prior to
PETA'S site inspection in September of
2019?

A. Correct.

Q. You had noted that Mr. Candy
Said something about leasing the animals.
Did he ever say that any of the animals
besides the bears were leased?

A. Not that I recall.

 

 

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DR. G. DUNCAN

QO. Continuing on Exhibit 43, the
entry under October 3, 2019, states Mr.
Candy reports that owner of bears declines
treating dental disease due to age of
bears. Discussed that condition as painful
and highly recommend treatment.

Can you explain why you highly
recommended treatment?

A. Because they had exposed tooth
root pulps which is known to be quite
painful.

Q. When Mr. Candy reports that
owner of bears declined treating dental
disease due to age of bears, what did Mr.
Candy tell you?

A. So, he had said that he had
been in contact with the owner of the bears
and because of their age they had decided
not to risk transporting or anesthetizing
them for any kind of treatment.

Q. Based on your conversation with
Mr. Candy, were you under the impression
that Mr. Candy was not responsible for the

bear's veterinary care?

 

 

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DR. G. DUNCAN
A. That was my understanding.
Well, I guess I would say my understanding
was that if any concerns were brought to
him or were noted by him he then had to
obtain permission from someone else to
perform any kind of procedures or
interventions on the bears. So, maybe a
Joint responsibility would be more
accurate.
Q. Did you ever speak to the
purported owner of the bears?
A. No.
MS. GRAVES: I'm going to mark
Exhibit 51.
(Whereupon, a breeding loan
agreement was marked as Exhibit 51
for identification as of this date by

the Reporter.)

Q. Do you see Exhibit 51?
A. It's coming up. Yes.
Q. The second paragraph of this

breeding loan agreement states the Natural
Bridge Zoo is placing one male and two

female Himalayan Asiatic black bears on

 

 

 

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DR. G. DUNCAN
breeding loan to the Tri-State Zoo. Any
offspring from the bears will be shared
jointly by both parties. The care,
housing, feeding and vet care of the bears
will be the responsibility of the Tri-State
Zoo.
Have you ever seen this

breeding loan agreement before?

A. Not to my knowledge.

Q. Did Mr. Candy ever tell you
that his facility Tri-State Zoo was
responsible for the bear's veterinarian
care?

A. Again, he indicated to me that
anything veterinarian related would have to

be run by the true owners.

QO. So, he lied to you; correct?
A. I mean I only know what he told
me
MR. YOUNG: Objection, counsel.

That's not a proper question.
Q. Does this term in the breeding
loan agreement that the vet care of the

bears are the responsibility of Tri-State

 

 

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DR. G. DUNCAN
Zoo concern you at all?
A. I mean I guess it contradicts
my understanding.
Q. According to the record we

received from Dr. Gold's office who is
Tri-State'’s current veterinarian, this is
Keith Gold, I can represent to you that the
bears underwent oral surgery in December of
2020.

Would it have been appropriate
in your opinion for Mr. Candy to have
avoided approximately a year and three
months from the time Dr. Haddad pointed out
their dental disease before treating their
condition?

MR. YOUNG: Objection,

counsel. This is a fact witness
deposition, it's not an expert
deposition and opinion testimony is
not to be solicited.

MS. GRAVES: That's okay. You

can state your objection for the
record but I don't have to lay a

foundation to get this witnesses

 

 

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DR. G. DUNCAN
opinion.

MR. YOUNG: Counsel, for the
record, PETA has vociferously
insisted that Dr. Duncan is not
qualified as an expert witness in the
prior case and therefore I think any
opinion testimony solicited is bared
by judicial estoppel.

MS. GRAVES: Mr. Young, I ask
you not to make speaking objections
and you're not allowed to instruct
this witness not to answer.

QO. Dr. Duncan, if you have an
answer to the question please go ahead and
answer it.

A. Sorry, could you repeat the
question, please?

Q. Would it have been appropriate
in your opinion for Mr. Candy to avoided a
year and three months from the time Dr.
Duncan pointed out their dental disease
before treating their condition --

A. When I pointed it out or --

QO. Sorry, Dr. Haddad.

 

 

 

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DR. G. DUNCAN
A. So, I don't know that
appropriate is a term that I would use. It

was contradictory to my recommendation.

Q. Would you agree that the bears
would have been suffering unnecessarily
during that period?

A. Yes.

Q. I'm going to show you one more
exhibit before taking a break short break.

(Whereupon, a patient history
was marked as Exhibit 52 for
identification as of this date by the

Reporter.)

Q. I just marked Exhibit 52.
A. Okay.
Q. Do you recognize these

documents?

A. Yes, this is the patient record
for Dodger the Capuchin.

Q. How do you recognize this
document?

A. Because it's labeled it's from
our Cornerstone program.

Q. The entry on February 8, 2019

 

 

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DR. G. DUNCAN
states Mr. Candy called in reference to
Dodger. Per last discussion Tuesday he has
been using coconut oil on Dodger's
apparently chapped hands. Has not been
able to get ahold of a primate specialist
as advised on Tuesday. Mr. Candy reports
today that he has not been eating well, is
not drinking, is not acting self. Advised
Mr. Candy Dodger needs to be scene ASAP by
a veterinarian today. Potentially on
emergency basis. Advised him we were not
able to hospitalize a primate as discussed
previously last fall. Recommend calling
Cheat Lake, not sure if they will see
primates but may know of someone who can.
Stressed importance of getting Dodger to
primate veterinarian today. Will need
blood work and likely IV fluids.
Why did you advise Mr. Candy

that Dodger needed to be seen by a
veterinarian ASAP and potentially on an
emergency basis?

A. Given the clinical history and

progression. So, we had been discussing

 

 

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DR. G. DUNCAN

Dodger holding his hands abnormally for at
least two weeks at this point and had
repeatedly recommended that he seek
veterinarian intervention and at this point
I was concerned that there was something
obviously severely physically wrong with
Dodger that indicated the need for
immediate veterinarian intervention.

Q. Do you know when Mr. Candy
eventually brought Dodger to see a vet?

A. I don't know the specific date.

QO. Based on documents we've
received from Dr. Gold's office I can
represent to you that his offices earliest
record of Dodger is dated February 12,
2019.

Given Dodger's symptoms when
you spoke with Mr. Candy on February 8th,
does it concern you at that Mr. Candy
waited four days to bring him to a

veterinarian?

A. Yes.
Q. Does that surprise you?
A. No.

 

 

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Page 80

DR. G. DUNCAN

Q. Why not?

A. Because of the previous
instances where he had chronically declined
intervention and had delayed treatment for
other animals.

Q. Before you spoke with Mr. Candy
on February 8, 2019, you had advised him
that he needed to find a primate

specialist; correct?

A. Yes, multiple instances.
Q. Why was that?
A. Because I was not comfortable

either with my ability to treat primates
and my knowledge of primates and also we
did not have appropriate staffing or the
ability to house a primate at our clinic
and, therefore, it was told to him that I
could do visual inspections and very
general give an opinion on my view of
Dodger but was not qualified nor capable to
provide any veterinary care intervention or
any kind of treatment.

QO. So, to insure that Dodger and

the other primates in Candy's custody were

 

 

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DR. G. DUNCAN
able to receive adequate veterinary care
from a facility equipped to deal with
primates, you made that recommendation?

A. Correct.

Q. Does it surprise you that Mr.
Candy did not follow your recommendation
until after Dodger was in need of emergency
veterinarian care?

A. So, my understanding was that
he had been in contact with a primate
specialist or someone who was qualified to
treat primates prior to this instance with
his hands but I did not know the extent of
that. He just told me it was taken care of
and I did not investigate further.

Q. Going back to Exhibit 43 at
page three there's an entry on May 25, 2018
the default comments that says in regards
to Dodger recommend if a female becomes
fail available attempt introduction.
Recommend T-E-T-A-N-U-Z vaccine even every
five years, rabies every three years if has
had appropriate boosters ine the past.

Is that supposed to be tetanus?

 

 

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Page 82
DR. G. DUNCAN
A. Yes.
Q. Why did you recommend a
companion for Dodger?
A. Because it was my understanding
due to my limited knowledge -- very limited

knowledge of Capuchins that they do better
with companions.

Q. During your tenure did Mr.
Candy follow either of your recommendations
regarding the companion or the
vaccinations?

A. Not to my knowledge.

Q. Did Dodger ever receive any
vaccinations?

A. Not to my knowledge.

Q. On page one of Exhibit 43
there's an entry on October 3, 2019 that
says Dodger shows evidence of
ectoparasites. Recommend treatment.

What was the evidence of
ectoparasites that you observed?

A. Hair loss on his coddle dorsum,
itching and fleas were seen.

Q. Was Dodger ever treated for

 

 

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DR. G. DUNCAN
ectoparasites?
A. Not to my knowledge.
Q. Do you know why not?
A. I don't. I had referred that

he or recommended that he consult an
appropriate veterinarian who could help him
with treatment.

Q. So, you said you observed
Dodger scratching at himself and you
actually observed the fleas. Did you

observe him pulling his hair?

A. Yes.
Q. Picking at his skin?
A. I would say picking at

ectoparasites, yes.
Q. Did you ever observe Dodger

engaging in any repetitive behaviors?

A. Not to my knowledge.
Q. I'm going to go back to Exhibit
52. Other than screening for parasites in

May 2018, did you ever physically exam

Dodger?
A. No, visual examinations only.
Q. Did you do any dental care?

 

 

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DR. G. DUNCAN

A. No.

Q. Take any blood?

A. No.

Q. Radiographs?

A. No.

Q. Take any ultrasounds?

A. No.

Q. Did you ever assess Dodger's
diet?

A. Very briefly. We had discussed

what he was being fed and then I
recommended that Mr. Candy again consult an
appropriate source to evaluate that.

Q. Do you recall what he was being
fed at the time?

A. I do not.

Q. Do you know if the enrichment
plan that appears on page seven of Exhibit
42 which was in place for Dodger was ever

implemented?

A. So, as far as the -- there was
a swing for him. There was interaction
with people as stated there. There was

various placement of fruits and vegetables.

 

 

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Page 85
DR. G. DUNCAN
He was provided with a water bowl in
addition to water bottle, biscuits. Those

are things that I know that are listed
there that I did observe.

QO. You would have observed that on
one of your quarterly visits to the zoo?

A. Correct.

Q. Did you ever assess this
enrichment plan?

A. So, I read through it and then
informed Mr. Candy that I was not qualified
to really approve or disprove of it.
Again, he would have to refer to someone
who was qualified in primate care.

Q. This plan was not varied in
anyway during your tenure as the attending
vet?

A. Not to my knowledge.

Q. Did you ever inspect Dodger's
enclosure to insure he was adequately
protected from the elements?

A. Once we observed both his
outdoor enclosure and then the indoor

section of his enclosure and I guess the

 

 

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Page 86
DR. G. DUNCAN
path between them.
Q. Do you know what day you
inspected his enclosures?
A. That would have been my first
quarterly visit to the Zoo. So, not the

first actual visit to the zoo which was
where I was specifically treating Cheyanne
but the first visit when I was introduced
to the attending veterinarian.

Q. So, on Exhibit 43 at page four
on April 13, 2018 it says presented for
first quarterly zoo visit. Would you have
inspected Dodger's enclosure on that day
date?

A. Yes.

Q. At that time did you make any
recommendations to Mr. Candy regarding
Dodger's enclosure?

A. Not specifically but I kind of
lumped that in with the recommendation that
he consult an appropriate source for all
information on care of Dodger.

Q. On Exhibit 43 page two it says

Mr. Candy had told you that Dodger had

 

 

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Page 87

DR. G. DUNCAN
several of his digits amputated; correct?

A. Correct.

Q. Because of apparently because
of frostbite?

A. Correct.

Q. If Dodger had been adequately
protected from the elements he wouldn't
have suffered from frostbite; correct?

A. Correct.

Q. Because frostbite is entirely
preventable; correct?

A. I would say within the
limitations of animal behavior it is mostly
preventable but it -- yes.

MS. GRAVES: I think if
everyone is okay we can take a short
break to stand up. Maybe ten

Minutes.

A. Okay.
THE VIDEOGRAPHER: We're going
off the record. The time is 10:52
a.m.

(Whereupon, an off-the-record

discussion was held.)

 

 

 

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DR. G. DUNCAN
speculum would have to be pl
MS. GRAVES: I'm

our next exhibit.
(Whereupon, a pat
report was marked as E
identification as of t

Reporter.)

QO. I've marked exhib
know when you can view it.

A. Okay.

Q. Do you recognize
documents?

A. Yes, this is my m
for Dream, one of the miniat

QO. Go to MVS00204 wh
believe page six.

A. Okay.

QO. Under musculoskel
patient is underweight and w
cachectic. Owner reports sh
under winter possibly being
the way by larger goats and

Can you describe

condition when you examined

 

Page 98

aced.

going to mark

ient history
xhibit 54 for

his date by the

it 54. Let me

these

edical record
ure horses.

ich is I

etal it says
eak, borderline
e loses weight
shoved out of
other horses.
Dream's

her in May

 

 

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Page 99

DR. G. DUNCAN
2018?

A. So, she was lethargic,
depressed, severely underweight and she was
packing feed I believe over her 200 arcade
which is her left upper jaw.

Q. What do you mean by weak?

A. So, her -- she was I mean weak.
So, she didn't have a lot of strength in
her muscles, didn't have a lot of muscle
mass due to being underweight.

QO. Borderline cachectic, what does
that mean?

A. Basically that she was so
underweight and/or underfed that her body
had started metabolizing her own muscle
mass to sustain itself so it's a marker of
being severely malnourished.

QO. Her teeth were in need of

floating; correct?

A. Yes.

Q. Do you know when they were last
floated?

A. To my knowledge she had never

been floated.

 

 

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Page 100
DR. G. DUNCAN
Q. Under plan it says LA panel
pending, Coggins pending. Recommend senior

feed, free choice, good quality hay, grass
if available. Float at earliest ability,
separate from the other animals to afford
adequate feeding time.

Did you follow up with Mr.
Candy to see if any adjustments to Dream's
diet were made?

A. Yes, we came back and floated
her and her vaccinations and evaluated her.

(At this point Zoom froze.)

Q. You froze for me. Can you
repeat that?

A. So, yes, we came back and
floated her and started her vaccines and we
reevaluated her body condition and her
feeding plan at that time.

Q. Do you know if she was
separated from the other equines and goats?

A. I know they had separated the
goats. I don't recall if the two horses
-- two or three horses, whatever was there,

were still together.

 

 

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Page 101
DR. G. DUNCAN

Q. On May 24, this is page three
of Exhibit 54, you reexamined Dream;
correct?

A. Yes.

QO. And Dream was still thin?

A. Yes.

Q. And you suspected malnutrition
as a potential cause?

A. Correct.

Q. Why was that?

A. Given that when we floated her

her teeth were sharp but not in poor enough
condition that she shouldn't have been able
to get the sustenance needed if adequate
food was available to her and given also
that we had run blood work basically a full
large animal CBC and chemistry and there
was no evidence of abnormalities on that
blood work.

Q. Under assessment you suspected
that her poor body condition might also be
related to her dynamic?

A. Yes, so she was observed to be

shoved away from resources by the goats.

 

 

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Page 102
DR. G. DUNCAN
Q. And that was something that you
would have you observed?
A. Yes.
Q. On page four under plan it says
fecal pending, move to grass. Did you

receive the results from the fecal test?

A. Yes.

QO. Is that documented on this
record?

A. No, but if we have -- there
should be a dewormer that is recorded
somewhere which maybe under one of the

other horses because we gave them group

deworm. We dewormed the whole herd.
Q. Did any of the horses have
worms ?
A. I do not recall. I believe

they had large strong jowls, but I do not
recall 100 percent.

QO. Would that be in the fecal
record that you may have elsewhere?

A. If it was recorded by the
veterinarian assistant who ran it then

there should be a default comment somewhere

 

 

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Page 103

DR. G. DUNCAN
in the patient history of at least one of
the equines.
Q. Did Mr. Candy ever move dream

to pasture?

A. Yes.
Q. Where was that pasture located?
A. At the back of the property

behind where the bears and the tigers were
housed there was a large field out there
that she was placed I believe with at least
one of the other animals. I don't remember
which one.

Q. On page one of Exhibit 54 you
conducted a sedated oral exam on June 24th;
correct?

A. Yes.

Q. What was the protocol used for
her sedation?

A. She was given 75 milligrams of
xylazine.

Q. And did you use any monitoring
equipment?

A. No.

Q. Is it typical to use monitoring

 

 

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Page 104

DR. G. DUNCAN
equipment when sedating an equine for oral
exam?

A. No.

Q. Do your records indicated that
Dream was not well halter trained? Did her
lack of halter training make medical exams
difficult?

A. Not I wouldn't say difficult.

I mean she wasn't bad. She just wasn't
regularly handled and she was significantly
better by this exam than when we had first
examined her because she was a little bit
more used to us.

MS. GRAVES: I'm going to mark
Exhibit 55.

(Whereupon, a patient history
report was marked as Exhibit 55 for
identification as of this date by the
Reporter.)

Q. Let me know when you can see
Exhibit 55.

A. Okay.

Q. Do you recognize these

documents?

 

 

 

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Page 131

DR. G. DUNCAN

Q. Did the opossums at Tri-State
-- did any of the opossums at Tri-State
ever receive any veterinarian care?

A. Not from us.

Q. They had a number of opossums.
Survivor was acquired in June 24, 2020,
Hillary acquired in September 2018, Bed Bug
acquired in 2019, Squirrel acquired March
19, 2015, Demi acquired April 12, 2019,
Seline acquired October 26, 2017 and Grouch
acquired in June 12, 2018.

So, you've never examined any

of those opossums?

A. No.
Q. Why not?
A. Because, again, he was referred

to an exotic veterinarian for their care.

MS. GRAVES: I'm going to mark
our next exhibit.

(Whereupon, a patient history
report was marked as Exhibit 61 for
identification as of this date by the
Reporter.)

Q. How are you doing? Do you need

 

 

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Page 132
DR. G. DUNCAN
a break?

A. No, I'm good.

Q. I just marked Exhibit 61.

A. Okay.

Q. Do you recognize these
documents?

A. Yes, these are patient records
for Emmy who was a pot belly pig.

Q. Do they include any records for
any other pot belly pigs?

A. You mean in this record or do
we have any other ones?

Q. In Exhibit 61. So just --

A. Yes, Isabel is there too. I
see Snorkel. There's Snorkel and Sophie
all pot belly pigs, yes.

Q. How are you able to recognize
these documents?

A. Because these are documents

that were created or scanned into our
Cornerstone program.

Q. Let's start on the first page
of Exhibit 61. Was Emmy under sedation

when you examined her in May of 2018?

 

 

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DR. G. DUNCAN

A. No, she was quite tractable.

Q. Were any of the pigs under
sedation?

A. I don't believe so. I would
have to look through. No, none of them
were sedated.

Q. The entry under mouth and teeth

for Emmy states the tongue, tonsils, palate
and pharynx are a healthy color and
appearance.

Can you explain how you were
able to examine the tonsils on Emmy if she
was awake?

A. By giving her treats. So, I
got her to eat the treat and open her mouth
quite easily.

Q. And she opened wide enough so
you can see her tonsils?

A. Yes.

Q. Was Emmy screened for

parasites?

A. No, at least not at that time.
Q. Why not?
A. Because no samples were

 

 

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Page 134

DR. G. DUNCAN
provided to us.

QO. So, to the extent that there
are no fecals noted in any of Emmy's
records they were -- there would have been
no screening for parasites; is that

correct?

A. Correct.
Q. Let's scroll down to page two
of Exhibit 61. So, under plan it says

booster three to four weeks.
Did Emmy receive any boosters
as planned?

A. It looks like she had vaccines
May 17th and then was boostered on June --
wait is that the same year? No, that's a
different year, sorry. So, she was
boostered yearly.

QO. So, she didn't receive the
boosters in the three to four weeks;
correct?

A. Correct.

Q. And why didn't she receive her
boosters in 2018?

A. Probably because he didn't have

 

 

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DR. G. DUNCAN
us back out to perform those so he didn't
schedule the booster appointment. That
would be my presumption but I don't

specifically remember.

Q. If you can down to page four.
A. Okay.
Q. You diagnosed Isabel with

bilateral ventral entropion with ocular
discharge; correct?

A. Yes.

Q. What risks regarding entropion
correction surgery did you discuss with Mr.
Candy?

A. So, the risks of sedating them
on the farm versus transporting them and
having true anesthesia and basically the
risk of doing it on the farm with limited
monitoring equipment and the risk of
anesthesia in pot belly pigs given that
sometimes they can have hyperthermia in
relation to sedation and given her obesity.

QO. So, Isabel was obese?

A. I would say she was -- well,

she's fairly average for a pot belly pig

 

 

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Page 136

DR. G. DUNCAN
but she was overweight. Maybe not obese.
Obese is probably not appropriate but
overweight.

Q. On page four of Exhibit 61 her
body condition score was recorded as five
out of nine. Is that inaccurate?

A. Probably, yes, I would say from
my recollection.

Q. So, did you think if Mr. Candy
was willing to transport her to your
hospital would Isabel have been a good

candidate for surgery?

A. It wouldn't have been performed
at our hospital. We told him that's not
something we would have had to perform. We

would have had to refer, but other than
that as long as she was somewhere where
they were appropriately prepared to
anesthetize a pot belly pig understanding
the potential complications in that species
and, yes, as far as my physical exam she
was other than being a little bit
overweight healthy.

Q. Go down to page 11 of Exhibit

 

 

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Page 137
DR. G. DUNCAN
61. Snorkel received a rabies and Bar-Vac
CDT in May 2018; correct?
A. Correct, yes.
Q. And on page ten the plan was to
booster CDT in three to four weeks. Did

Snorkel receive his booster in three to

four weeks?

A. No.
Q. Why not?
A. Again, my presumption is that

he didn't have us back out for that booster
appointment.

Q. Why wasn't Snorkel vaccinated
for rabies again in June of 2019?

A. Because we couldn't restrain
him well enough to get two vaccines into
him.

Q. Did Mr. Candy have any
equipment on site to restrain the pigs?

A. No.

Q. Did he have any equipment on
Site to restrain any of the animals?

A. Technically a halter is

adequate restraint for the equids but there

 

 

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Page 138

DR. G. DUNCAN
was no kind of shoot or any kind of
restraining equipment like that for any of
the animals that I am aware of.

Q. Let's go to page 14 of Exhibit
61. The fecal sample for Sophie was
submitted in improper container it says
here. Was that sample still viable dida
new sample need to be submitted for
testing?

A. No, it was still viable.

QD. So, a new sample was never
collected or submitted?

A. Correct, because the container
that was submitted did not affect the
outcome of the fecal examination.

Q. On page 16 of Exhibit 61,
recommendations it says this is for under
plan for Sophie it says booster CDT three
to four weeks.

Did Sophie ever receive any
boosters as planned?

A. No, because that would have
been the same booster appointment that was

missed for all three pigs or all the pigs.

 

 

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Page 139

DR. G. DUNCAN
Q. Was that because Mr. Candy
didn't schedule the follow-up or was that

because other restraint issues?

A. I believe it is that it wasn't
scheduled.
Q. And then in 2019 Sophie did

receive her CDT vaccination and rabies?

A. Correct.

Q. Were any of the female pigs at
Tri-State spayed?

A. Not to my knowledge.

Q. Were any of the pigs vaccinated

for pneumonia?

A. Not to my knowledge.
Q. Why not?
A. Because their risk was

incredibly low given their housing and
their management.
Q. Did they receive any regular

hoof trims?

A. Not from us.
Q. Did you examine their hooves?
A. I did and they were never noted

to be severely overgrown because they had

 

 

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Page 140
DR. G. DUNCAN
the opportunity to walk across hard
surfaces.
QO. The hard surfaces, what was
that?
A. Dirt path, there was a

partially I want to say it was a stone
path, gravel areas, kind of wooded areas
that provided the necessary abrasion to the
hooves to keep them at an appropriate
length.

Q. Did the pigs ever receive any

dental cleanings?

A. No, not by us.
Q. Ear cleanings?
A. Not by us.

QO. Blood draws?
A. Not from us.
Q. And why not?

A. The ear cleanings were never
indicated other than potentially in the
case of Emma which was discussed with Mr.
Candy to do himself. As far as dental care
it's not always routinely performed on pot

belly pigs.

 

 

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Page 214
DR. G. DUNCAN
physically examine Trouble?
A. Briefly.
QO. Was she examined for or treated
for any ectoparasites?
A. She would have been examined

but it doesn't look like she was treate.

QO. Was she screened for
endoparasites?

A. No.

Q. Why didn't she receive any
updated vaccinations in 2019?

A. They were either declined or
she wasn't there.

Q. Let's go to page 42. Did you

physically examine White Momma?

A. No.

Q. Do you recall why not?

A. No.

Q. And she also didn't receive any

vaccinations?
A. Correct.
MS. GRAVES: I'm going to mark
our next exhibit.

(Whereupon, a patient history

 

 

 

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Page 215

DR. G. DUNCAN
report was marked as Exhibit 69 for
identification as of this date by the
Reporter.)

QO. This is Exhibit 69. Tell me
when you see it.

A. Okay.

Q. Do you recognize these
documents?

A. Yes, this is my medical records
for Diablo the bobcat.

Q. How are you able to recognize
them?

A. Because they're labelled from
our Cornerstone system.

QO. Did Diablo ever receive a
physical exam while you were Tri-State's
attending vet?

A. No, a visual exam only.

Q. Why didn't you physically
examine Diablo?

A. Because there was no safe way
to accomplish that.

Q. Did you do any blood work on

Diablo?

 

 

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A.

Q.

A.

Q.

A.
there it
and then
steadily

probably

 

Page 216

DR. G. DUNCAN
No.

You didn't take any

radiographs; correct?

A. Correct.

QO. No dental exam?

A. No.

Q. Was his weight ever assessed?

A. Yes.

Q. Was that recorded anywhere?

A. No.

Q. Why not?

A. It was a visual assessment
only. It was discussed with Mr. Candy at
the time that I was there.

Q. Do you recall Diablo's weight

at the time?

Underweight.

If you can estimate his body

condition score?

I would say when I was first
was probably pretty close to ideal
over the next year or two it
declined to a four and then

to a three last time I saw him.

 

 

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DR. G. DUNCAN
QO. Was Diablo's diet ever
assessed?
A. We briefly discussed it but I

don't know that we ever discussed it
in-depth.

QO. That discussion wasn't
memorialized in his patient records;
correct?

A. Correct.

Q. The Idexx reference entry on
May 26, 2018 states hook worm ova present
few three to ten. Larvae present. Larvae
present which do not resemble lungworm
larvae. Recommend resubmission of a fresh
specimen avoiding contact with.

Did Diablo have hook worms?

A. Unclear.

QO. So, you don't know if Diablo
had lung worms?

A. According to the lab report,
no, he did not have lung worms. There was
some question as to whether he had hook
worms or whether it was environmental

contamination.

 

 

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DR. G. DUNCAN

Q. Was a follow-up fecal ever
conducted to confirm?

A. It was never provided to us,
no

Q. So, no subsequent screening for
parasites?

A. Correct.

Q. Did you diagnose the bobcat
with arthritis?

A. Presumptively based on visual
exam of his mobility. No diagnostics were
ever performed.

Q. So, it was presumptive
diagnostic but no physical exam was
conducted; correct?

A. Correct.

Q. Do you recall his symptoms?

A. He had difficulty rising from
when he was laying down. He had decreased

mobility as far as he wasn't as active as
would be expected and I believe that when
he ambulated he had a hunched appearance

and was stiff behind.

Q. When you say stiff behind, you

 

 

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DR. G. DUNCAN

mean stiff in his hind legs?

A. Yes.

Q. Did he present with any other
symptoms?

A. Not to my knowledge.

Q. Did he appear to be in pain?

A. Yes.

Q. You prescribed Diablo

meloxicam; correct?

A. Yes.

Q. Did you ever conduct a
follow-up exam after prescribing the
meloxicam?

A. Visual exams and we discussed
his response with Mr. Candy and further
medication was declined.

Q. So, after the prescription
given on October 3, 2019 there were no more
prescriptions of meloxicam provided?

A. They were available. They were
never picked up.

QO. With regard to the birds, did
you ever physically examine any of the

birds at Tri-State?

 

 

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DR. G. DUNCAN

A. No.

Q. Was that because you had told
Mr. Candy that he needed to find an exotic
vet for the birds?

A. A combination of that and he
did not request that I do anything with the
birds effectively.

Q. So, you didn't conduct any
blood work, any radiographs of the birds?

A. No.

Q. And did you ever assess their
enclosures?

A. Very briefly. I looked at it
but beyond that no.

QO. Where was the enclosure when
you looked at it?

A. So, they were in an outdoor
enclosure near the little playground golf

course section that he has there.

Q. What season was that during?
A. Summer.
Q. Did you ever assess their

enclosures in the winter?

A. No, I never saw them during the

 

 

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DR. G. DUNCAN
winter.
Q. Did you ever assess the perch

Sizes for any of the birds?

A. No.

QO. The substrates?

A. No.

QO. The size of the enclosures?
A. I would say it was crowded.
Q. Approximately how many birds

were in Mr. Candy's custody when you
examined the bird enclosure?

A. Iam not sure. I want to say
maybe there was five or ten but I never
really counted.

Q. And that was because you
weren't responsible for them, the birds as
their attending veterinarian?

A. Correct.

Q. Do you know why Mr. Candy said

you didn't have to provide care to the

birds?
A. No.
Q. Was it because they're not

regulated under the Animal Welfare Act?

 

 

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DR. G. DUNCAN

A. We never specifically discussed
why or why not but that maybe because I
specifically told him that I don't do
birds.

QO. Understood.

So, you also didn't assess
their diets; correct?

A. Correct.

Q. I recall you saying there
weren't any skunks at the time during the
time you were the Tri-State's attending
vet; is that correct?

A. Yes.

Q. Were there any fox at Tri-State
when you were the attending vet?

A. No.

Q. So, fair to say you didn't
examine any skunk or fox?

A. Correct.

Q. Were there any other animals
you treated who we did not discuss?

A. Apart from the tigers and the
lion, I think so.

Q. Did you observe any significant

 

 

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DR. G. DUNCAN
medical issues or husbandry issues that we
didn't discuss?

A. Not that I recall.

Q. Do you recall Mr. Candy ever
declining any other recommended treatments
that we didn't discuss?

A. Nothing comes to mind.

Q. Were there any other animals
you believe should have been treated or
Should have received treatment who did not?

A. Other than what we have already
discussed, the bears, the lion, the tigers,
the feral and domestic, Cantata, the wolf,
the pigs, reptiles. Nothing else comes to
mind.

QO. Based on the records we've
received I can represent to you that
approximately 16 animals have died in Mr.

Candy's care between April 2018 and May of

2021. Does that number surprise you?
A. No.
Q. Why not?
A. Because based on the number of

animals that I know past away while I was

 

 

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DR. G. DUNCAN
there that is not a significantly larger
number than what I was aware of.
Q. Do you think the animals in Mr.
Candy's care would be better off ata
reputable facility that has the resources

and staff to properly care for the animals?

A. Yes.
Q. And why is that?
A. Because of the lack of

preventive veterinary care, the lack of
compliance, mostly the chronic
noncompliance that I experienced while I
was the attending veterinarian.

Q. Did you ever express your
opinion informally to Mr. Candy about the

conditions of the animals at Tri-State?

A. On numerous occasions, yes.
Q. Do you recall what you said?
A. So, based on different animals

and obviously there are some that are

documented as far as Charlie and the large
cats when they needed to be euthanized and
that was declined. I had discussed housing

as far as the minis, housing and vaccine

 

 

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DR. G. DUNCAN
recommendations, preventative care, better
turn out which I guess is part of housing
and then of course the vaccines and flea
and tick prevention for all the domestic
and feral cats. And then we briefly
touched on the reptile house. Obviously
there was concern expressed over Dodger
during his medical issues.

MS. GRAVES: I'm going to mark
another exhibit.

(Whereupon, a client history
account was marked as Exhibit 70 for
identification as of this date by the
Reporter.)

QO. I've marked Exhibit 70. Let me

know when you can see it.

A. Okay.
Q. Do you recognize this document?
A. Yes, this is Mr. Candy's

account history from our Cornerstone

system.

Q. How are you able to recognize
it?

A. Because it's labelled by our

 

 

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